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                            Exhibit 7
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TO:                 City of Chicago Law Department and
                    Office of the Illinois Attorney General
FROM:               The Independent Monitoring Team
RE:                 IMT Proposed Resolution – CPD S03-14, Body Worn Cameras
DATE:               November 29, 2023

Consistent with the procedure described in ¶630 of the Consent Decree, the Independent Mon-
itoring Team issues this “proposed resolution of remaining objections” between the City of Chi-
cago and the Office of the Illinois Attorney General (OAG)—the Parties to the Consent Decree—
regarding the Chicago Police Department’s (CPD’s) Body Worn Cameras policy, S03-14.

As explained further below, the IMT proposes the following resolution, consisting of three con-
nected recommendations:

1. The CPD should implement the latest version of S03-14 as soon as possible—regardless of
   the status of the “public safety question” issue.

2. Because the Parties disagree on the interpretation of a state statute—which appears to
   raise a question of first impression with statewide significance—and the Parties’ interpre-
   tations are both facially plausible, the IMT proposes that the CPD proceed under its inter-
   pretation of Illinois’s Law Enforcement Officer-Worn Body Camera Act subject to the CPD’s
   adherence to the transparency requirement below. 1

3. If, in the interest of public safety, the City and the CPD continue to require officers to turn
   off body-worn cameras during “public safety questions,” the Consent Decree requires the
   CPD to be transparent with Chicago’s communities regarding its decisions.

We welcome continuing discussions on this issue with the City, the CPD, and the OAG.

Procedural History
The City and the CPD did not submit a body-worn-cameras policy for review under Section XII, C
of the Consent Decree (Review of CPD Policies and Procedures) in 2019.

On November 25, 2020, the City and the CPD provided the existing policy, S03-14, Body Worn
Cameras (dated April 30, 2018), to demonstrate compliance with ¶576. This version of the policy
is still in effect.



1
    The Parties have not yet fully briefed the support for their positions, including any arguments regarding the poli-
    cies and practices of other Illinois law enforcement agencies or whether State of Illinois v. City of Chicago, No. 17-
    cv-06260, is the appropriate vehicle for resolving the statutory interpretation question.


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On April 28, 2021, the CPD provided a revised draft of S03-14 (dated March 29, 2021) for review
with ¶¶58, 236–41, 451, and 576 of the Consent Decree. The IMT provided feedback on May 28,
2021.

About a year later, on May 19, 2022, the CPD provided a further revised draft of S03-14 along
with revised draft forms CPD-21.130, Body Worn Camera Video Review, and CPD-21.131, Body
Worn Camera Videos Viewed, (all dated May 5, 2022) for review with ¶¶236–41. We provided
our comments on August 22, 2022. The CPD provided the forms and a further revised draft of
S03-14 (dated November 16, 2022) for review on November 17, 2022. We provided our com-
ments on December 31, 2022. On June 15, 2023, the CPD provided further revised drafts of the
forms and S03-14 (all dated May 2023) for review with ¶¶236–41.

In an August 25, 2023 response letter, the City notified the IMT and the OAG that the CPD has
provided “ongoing updates to its procedures related to body-worn cameras through legal and
training updates,” which included the following.

•   Bureau of Patrol announcement on January 20, 2023:

       Department Members will activate the BWC system to event mode at the begin-
       ning of an incident and will record the entire incident for all law enforcement re-
       lated activities. Law enforcement related activities include but are not limited to:
       arrests, traffic stops, investigatory stops, any encounter with the public that be-
       comes adversarial after initial contact, searches of people, items vehicles, buildings
       & places, and any other instances when enforcing the law. S03-14 III.A.2 has a non
       exhaustive list of incidents where Department Members will activate their BWC.
       Please refer to the entire Special Order 03-14 for additional guidance on this policy.
       To be read at roll call for seven (7) days.

•   Administrative Message Center (AMC) message on June 30, 2021:

       This message informs Department members of selected revisions/additions to the
       Illinois Compiled Statutes. It only provides a brief synopsis (see attached) of the
       selected revisions/additions and does not provide statutory text. The effective date
       of the selected revisions/additions to the Illinois Compiled Statutes is 01 July 2021.
       For the actual statutory language, go to www.ilga.gov. If there are any questions,
       call the Legal Affairs Division at 312-745-6115 or PAX 0245. To be read at roll call
       for five (5) consecutive days.

•   Another AMC message on June 30, 2021, regarding “the changes to BWC policy and proce-
    dures based upon the SAFE-T Act, which was effective July 1, 2021”:

       Department members are informed that Public Act 101-0652 titled the SAFE-T Act
       (Safety, Accountability, Fairness and Equity – Today), provides for a number of
       changes to the criminal justice systems in Illinois. Additionally, Public Act 102-0028



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       revised the SAFE-T Act and delays a number of the provisions that will be imple-
       mented over a number of years. However, the Department has identified specific
       topics that require immediate revisions to Department policy beginning 01 July
       2021. Department members and supervisors will ensure compliance with the pro-
       visions of the law. The attached Update: R&D is a summary of the revisions re-
       quired to Department policies based on the 01 July 2021 implementation of the
       SAFE-T Act. Revised directives in the Department Directives System will be forth-
       coming. *** NOTE: As a result of these changes, the Body Worn Camera Program
       eLearning that many members were recently enrolled in will need to be updated
       to conform with the new law. Therefore, the eLearning will be temporarily unavail-
       able. Any portions of the eLearning viewed by Department members that conflict
       with the attached document or the SAFE-T ACT should be disregarded. *** To be
       posted in the C.O. book and read at roll call for seven consecutive days.

•   AMC message on February 23, 2023 (including a link to the Law Enforcement Officer-Body
    Camera Act (50 ILCS 706):

       In accordance with Special Order S03-14, Department members will securely at-
       tach their Body Worn Cameras (BWC) to the front of their person consistent with
       training and ensure the BWC is on buffering mode prior to leaving the station. De-
       partment members must ensure their BWC remains on and in buffering mode
       throughout the entirety of their tour of duty except for appearances at court or
       hearings (S03-14 IV.A.3). Per the Law Enforcement Officer-Worn Body Camera Act
       (50 ILCS 706/10-20.a.3), “Cameras must be turned on at all times when the officer
       is in uniform and is responding to calls for service or engaged in any law enforce-
       ment-related encounter or activity that occurs while the officer is on duty.” Know-
       ingly and intentionally failing to activate your BWC may result in Class 3 Felony
       charges[.] Please refer to Special Order S03-14 and 50 ILCS 706 for further guid-
       ance. To be read at roll call for seven (7) days.

•   AMC message on April 7, 2023:

       Members should re-familiarize themselves with the notification requirements
       found in General Orders 03-01-01 (Radio Communications) and 04-01 (Preliminary
       Investigations). Proper notifications to dispatch are necessary to ensure officer
       safety and accountability when responding to calls or incidents. Proper notifica-
       tions also allow OEMC to assign the appropriate Event number to responding of-
       ficers, which is critical for ensuring that captured BWC footage is properly tagged
       to an Event. Mislabeling or failing to properly tag BWC video to an Event may jeop-
       ardize investigations and prosecutions, as well as prevent members and the De-
       partment from preserving necessary evidence and records. Use these tips to help
       ensure videos will be matched with the proper event: Activate your BWC when as-
       signed to a call, as required by Special Order S03-14. If you are assisting on a call
       notify dispatch that you are providing back up and have them place you on the



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       event. If there is a change in your beat number or car number, ensure the A&A’s
       are changed to reflect the correct information. If more than one beat is assigned
       to the same car (i.e. Tact), then all beats need to be assigned to each event. For
       self-initiated activity, obtain an event number from OEMC. **TO BE READ AT ROLL
       CALL FOR 7 CONSECUTIVE DAYS**

These updates were not provided to the IMT and the OAG for Consent Decree review and are not
included in the effective version S03-14 (April 30, 2018).

In response to the March 29, 2021, May 19, 2022, and November 17, 2022 drafts, we noted that
the CPD had not engaged with Chicago’s communities regarding the Body Worn Cameras policy
per ¶160 and the CPD’s obligation to “establish and maintain clear channels through which com-
munity members can provide input” regarding this policy. Evidence of compliance with ¶160 is a
prerequisite to gaining Preliminary compliance with most, if not all, of the paragraphs identified
by the CPD (¶¶236–41). To date, the CPD has not provided evidence of community engagement
alongside the revised policy and forms. During a site-visit meeting on September 12, 2023, CPD
representatives indicated a willingness to incorporate S03-14 into its maintained channels for
community input regarding Use of Force policies.

Based on this discussion, on October 5, 2023, the IMT provided a no-objection notice to the CPD
with the following conditions (which the IMT understood to be consistent with the September
12, 2023 discussion):

       1.      The CPD implements the revised S03-14 with a new Summary Punishment
               Action Request (SPAR) code specific to compliance with the revised S03-14.

       2.      The CPD incorporates S03-14 into the sustained community input channels
               required by ¶160.

       3.      The CPD provide[s] the public comments that the CPD received in response
               to the public posting of S03-14 from November 18 to December 15, 2022
               (as well as those comments it receives in future postings).

       4.      The City, the CPD, and the OAG continue to resolve current disagreements
               regarding public-safety questions and compliance with Illinois law and best
               practices. (To clarify, because these disagreements exist regardless of the
               implementation of the revised S03-14, we do not believe that the CPD
               needs to wait for these disagreements to be resolved before implementing
               the revised S03-14.)

       5.      The City, the CPD, the OAG, and the IMT continue to collaborate on ways
               to efficiently in-corporate all relevant Consent Decree paragraphs into CPD
               policy, such as ¶576.




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On October 6, 2023, the OAG provided a no-objection notice for S03-14, which included the fol-
lowing description and condition:

       Given that the OAG’s primary objection is limited to Section V.B.2 of the policy,
       there is merit in an approach that allows the CPD to implement the policy and al-
       lows the parties’ disagreements to be resolved at a later date. Accordingly, the
       OAG provides this no-objection notice, conditioned on the parties bringing their
       disagreements before Judge Pallmeyer for judicial resolution at the November 16,
       2023 status hearing.

The OAG had previously requested removal or revision of the section of the policy “related to
deactivation of recording equipment for the public safety questions”—Section V.B.2 of the latest
version of S03-14—in its comments dated June 16, 2022, December 9, 2022, and July 26, 2023.

The City provided a response on October 13, 2023, which included the following:

       Neither “Conditional No Objection Notice” resolved the outstanding issues raised
       by the IMT and OAG and the City’s written responses. One of the conditions raised
       by the IMT was that the City continue to work with the OAG to resolve the out-
       standing issue related to the “Public Safety Questions.” One of the conditions
       raised by the OAG was that the City present the “Public Safety Question” issue to
       the Court at the scheduled November status hearing. Based upon these conditions,
       the City believes that outstanding objections exist regarding the policy that require
       resolution by the IMT under the Consent Decree. . . . At this time, the City and CPD
       request that the IMT issue a proposed resolution of the remaining objections as
       dictated by paragraph 630.

The IMT since asked the CPD to provide additional clarification regarding various questions, in-
cluding when and why the CPD changed its policy to prohibit the recording of public safety ques-
tions. The IMT and the City met on Thursday, November 9, 2023, and the IMT asked whether the
City or the CPD were aware of other practices related to “public safety questions” in Illinois under
the SAFE-T Act, and the City and the CPD said they would follow up with us.

On Thursday, November 16, 2023, the City, the OAG, and the IMT met with Chief Judge Rebecca
Pallmeyer during a settlement conference to discuss, among other things, the status of S03-14.
Later that day, during a monthly meeting with the IMT and the OAG regarding the Use of Force
section, the City and the CPD indicated that they had no further information to provide.

Issues Before the Monitor:
Public Safety Questions and
the Illinois Law Enforcement Officer-Worn Body Camera Act
Based on the procedural history and the discussions with the City, the CPD, and the OAG to date,
the IMT believes that the City, the CPD, and the OAG agree that the latest draft of S03-14 (dated


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May 30, 2023) contains critical improvements over the existing version of S03-14 (dated April 30,
2018), including updates that are necessary to comply with state law. This includes new prohibi-
tions on when an officer may access or review body-worn camera recordings.

The City and the OAG disagree on the following:

•   whether Illinois state law and the Consent Decree require the CPD to turn cameras on during
    “public safety questions,” currently referred to as the “public safety investigation” in CPD
    policy.

•   whether, assuming Illinois state law does not require the CPD to record “public safety ques-
    tions,” the CPD should require officers to turn off body-worn cameras during “public safety
    questions.” See S03-14, Section III.B.2. (April 30, 2018) and Section V.B.2 (May 30, 2023) (“De-
    partment members will ensure their BWC [(body-worn camera)] is deactivated, consistent
    with this directive, before providing an oral response to the public safety investigations for
    incidents involving a firearms discharge and/or officer-involved death.”).

As noted above, CPD policy currently requires deactivation of cameras “before providing oral
responses to the public safety questions” posed by a supervisor during the “public safety inves-
tigation” following an officer-involved shooting or death. See VI.B.6 of G03-06, Firearm Discharge
and Officer-Involved Death Incident Response and Investigation. The stated purpose of the public
safety investigation is “to ensure public safety, preserve evidence, and secure the incident
scene.” Id.

Involved officers are required to “cooperate with the public safety investigation conducted by a
supervisor” by responding to the questions, which “will consist of general safety questions con-
cerning” the following:

       a. any injuries sustained by the member or other individuals.
       b. whether weapons were discharged, either by Department members or other
          individuals, what type of weapons, and the direction of the discharges.
       c. whether subjects are still at large, their descriptions, direction of travel, and
          alleged criminal offense(s).
       d. the identification and location of any victims, offenders, witnesses, or evidence.
       e. information about any involved vehicles, including damage to vehicles or vehi-
          cle-related safety concerns.
       f. any officer-wellness related matters.

Id. The OAG contends that the required deactivation is prohibited by Illinois’s Law Enforcement
Officer-Worn Body Camera Act (the Act) because “[c]ameras must be turned on at all times when
the officer is in uniform and . . . engaged in any law enforcement-related encounter or activity
that occurs while the officer is on duty.” 50 ILCS 706/10-20.




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The City and the CPD contend that deactivation is permitted because “‘Law enforcement-related
encounter or activities’ does not include when the officer is completing paperwork alone, is par-
ticipating in training in a classroom setting, or is only in the presence of another law enforcement
officer.’” 50 ILCS 706/10-10.

The OAG also objects that the required deactivation violates ¶238(b) of the Consent Decree,
which states that the CPD’s body-worn camera policy will “require officers, subject to limited
exceptions specified in writing, to activate their cameras when responding to calls for service and
during all law enforcement-related activities that occur while on duty, and to continue recording
until the conclusion of the incident(s).”

It does not appear that any court has considered or decided this question of statutory interpre-
tation under the Act. Because ¶238(b) uses nearly identical language to the Act—and ¶¶237–38
reference the Act and its exceptions—if the deactivation is permitted by the statute, we assume
it does not violate ¶238(b). Of course, even if the City and the CPD’s statutory interpretation is
correct, the statute would permit but not require that cameras be turned off for the oral response
to the public safety questions.

IMT’s Proposed Resolution
1. The CPD should implement the latest version of S03-14 as soon as possible—regardless of
   the status of the “public safety question” issue.

As reflected above—and apart from this issue—the City, the CPD, the OAG, and the IMT agree
that the CPD’s current version of S03-14 (April 30, 2018) does not comply with state law. In the
latest no-objection notices, the IMT and the OAG indicated that the May 2023 version of S03-14
should be implemented because the above disagreements continue to exist regardless of the
implementation of the revised S03-14.

In response to the City’s request for a proposed resolution from the IMT, we renew this recom-
mendation to ensure that the CPD’s Body Worn Cameras policy is, in the least, compliant with
the City’s interpretation of the Consent Decree and state law:

We understand that the City and the CPD would prefer to not implement a new policy if there is
a risk that a provision within the policy will be found invalid and need to change. But the process
to determine the correct interpretation of the statute may take significant time, and there is an
urgent and overdue need to update S03-14 and the related forms to reflect recent changes in
Illinois law and Consent Decree requirements.

For example, we believe it is critical for the CPD to implement the new S03-14 policy to be com-
pliant with the law where the Parties agree. As noted above, the latest version of S03-14 reflects
new statutory prohibitions on when an officer may access or review body-worn camera record-
ings.




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We also believe that it is critical for the CPD to implement the new S03-14 policy to better ensure
that incidents themselves are appropriately captured by body-worn camera. For example, with
the new policy, the CPD intends to implement a new Summary Punishment Action Request
(SPAR) code specific to compliance with the revised S03-14, which was a condition to our no-
objection notice and will allow the CPD to comply with ¶239’s requirement that the CPD “impose
progressive discipline, training, or other remedial action on officers who do not comply with the
body-worn camera policy.”

These and other improvements should not be further delayed.

The Consent Decree does not present policy revision as a one and done process. At a minimum,
the CPD is required to review and update its use of force policies biennially (see ¶159). We rec-
ommend that the CPD review and update S03-14 on a more accelerated timeline as part of its
effort to comply with ¶160’s community engagement requirements.

Moreover, because the CPD has already trained its officers on the intervening changes to state
law, it is on balance more confusing to leave the existing policy in place than to update it in align-
ment with the CPD’s training pending one discreet issue.2

The CPD should post the latest version of S03-14 for public comment as soon as practicable. We
recommend early December or January so members of the public are not required to review the
policy over the holidays. Otherwise, the City, the CPD, the IMT, and the OAG should agree to a
specific timeline.

2. Because the Parties disagree on the interpretation of a state statute—which appears to
   raise a question of first impression—and the Parties’ interpretations are both facially plau-
   sible, the IMT proposes that the CPD proceed under its interpretation of Illinois’s Law En-
   forcement Officer-Worn Body Camera Act subject to the CPD’s adherence to the transpar-
   ency requirement described in No. 3 below.

The Parties have not yet fully briefed the support for their positions, including any arguments
about whether State of Illinois v. City of Chicago, No. 17-cv-06260, is the appropriate vehicle for
resolving the statutory interpretation question and issues regarding the application to and prac-
tices of other law enforcement agencies in Illinois. Still, the Parties’ competing interpretations of
the statute are both facially plausible. The statutory interpretation question appears to be one
of first impression, and the question has statewide significance: some law enforcement agencies
in Illinois are required to comply with the requirements of the Act now, and others, including the
Illinois State Police, will be subject to these requirements by January 1, 2025. 3

In preparing this proposed resolution, the IMT reviewed the policies of other law enforcement
agencies in Illinois that are currently subject to the Act. The policies vary but appear to permit—


2
  The IMT also continues to stand by the other conditions in its no-objection notice, which the IMT understands the
  CPD still intends to implement.
3
  See 50 ILCS 706/10-15 for the statute’s applicability schedule.


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but not require—officers to turn off recording for their versions of public safety questions. Spe-
cifically, the policy of the Springfield Police Department simply restates the statutory definition
of “law enforcement related encounter or activities.” 4 The Peoria Police Department’s policy
states that “officers may disengage Event Mode or use the Mute Mode when on scene of an
incident but performing administrative duties not directly related to an investigation such as
speaking with a supervisor or making a phone call not directly related to a criminal investiga-
tion.” 5 The Peoria Police Department also provides a Garrity warning before obtaining “prelimi-
nary factual information” in a compelled statement following a critical incident.6 The Rockford
Police Department’s policy states that “[t]he initial supervisor or his/her designee responsible for
operations at the critical incident site, but not directly involved in the actual incident, shall take
physical custody of the body worn camera(s) that may have captured the incident.” 7

Because both Parties’ interpretations are facially plausible, we believe it is appropriate for the
CPD to continue with its interpretation of the statute until the statutory interpretation question
is resolved.




4
  Springfield Police Department, Body Worn Camera Program, 20-062 (August 14, 2020), https://www.spring-
  field.il.us/Departments/PoliceDepartment/Documents/Transparency/BodyWornCameraProgram.pdf.
5
  Peoria Police Department, Body Worn Camera Program, 400.38 (May 22, 2023), https://public.pow-
  erdms.com/PEORIAIL/tree/documents/954066.
6
  Peoria Police Department, Deadly Force Response Procedures, 400.36 (February 27, 2023), https://public.pow-
  erdms.com/PEORIAIL/tree/documents/954043. See also Collective Bargaining Agreement between the City of Pe-
  oria, Illinois, and Peoria Police Benevolent Association (January 1, 2022) at 54, https://www.peoriagov.org/Docu-
  mentCenter/View/4007/Peoria-Police-Benevolent-Association-PPBA-Agreement---2022-to-2024?bidId=.
  Related policies from police departments outside of Illinois reveal a varied approach to whether public safety
  statements following a critical incident are compelled or recorded. For instance, San Francisco Police Department’s
  policy resembles the CPD’s, with cameras turned off prior to the public safety statement, and the policy noting
  that the statement is “compelled without representation and taken under duress.” San Francisco Police Depart-
  ment, Obtaining a Public Safety Statement at an OIS or OID, Department Notice 22-031 (April 4, 2022),
  https://www.sanfranciscopolice.org/sites/default/files/2022-10/SFPDObtainingAPublicSafetyStatementBulle-
  tins20221011.pdf. The policy of the Los Angeles Police Department also resembles the CPD’s but specifies that the
  officer “do[es] not have the right to wait for representation to answer these limited questions.” See Los Angeles
  Police Department, Administrative Order No. 21 (November 16, 2020), https://lapdonlinestrgeacc.blob.core.us-
  govcloudapi.net/lapdonlinemedia/2021/09/AO-21-2020_OBTAINING-A-PUBLIC-SAFETY-STATEMENT.pdf. In the
  Portland Police Bureau, a supervisor will only require an involved member to provide a public safety statement if
  the supervisor “is unable to obtain the necessary public safety information from witness members, initial obser-
  vations, and/or other sources,” and does not appear to require or prohibit recording the public safety statements.
  See Portland Police Bureau, Deadly Force and In-Custody Death Reporting and Investigation Procedures, PPB-
  1010.10 (September 27, 2017), https://www.portland.gov/policies/police-directives/weapons-ammunition-
  equipment-1000/101010-deadly-force-and-custody-death.
7
  Rockford Police Department, Body Worn Cameras, 2.56 (August 24, 2021), https://www.rockfordil.gov/Docu-
  mentCenter/View/294/Body-Worn-Camera-Policy-101321-PDF.


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3. If, in the interest of public safety, the City and the CPD continue to require officers to turn
   off body-worn cameras during “public safety questions,” the Consent Decree requires the
   CPD to be transparent with Chicago’s communities regarding its decisions.

The City and the CPD have indicated that responses to the “public safety questions” are necessary
for obtaining information essential to provide for and secure public safety, such as quickly iden-
tifying potential victims, injuries, and dangers. The City and the CPD have argued that the CPD
will not receive this information from officers unless body-worn cameras are turned off.

In the IMT’s experience, public safety questions can provide critical public safety information and,
in some instances, may save lives. For this reason, the CPD should rigorously consider whether
any policy or practice may infringe upon the CPD’s ability to acquire such public safety infor-
mation.

The Consent Decree requires, however, the CPD to promote trust and be transparent regarding
its policies and practices. See, e.g., ¶¶2, 544–45, and 633. This is especially true regarding policies
and practices related to uses of force and the recording—or lack of recording—of information
after officer-involved-shootings or deaths. See, e.g., ¶¶155–57, 158 (“CPD’s use of force policies
must comply with applicable law and this Agreement, reflect the objectives described above, and
promote trust between CPD and the communities that it serves.”) and 160. See also, 50 ILCS
706/10-5 (providing that the purpose of body-worn-camera use is “improving transparency and
accountability, and strengthening public trust”).

If the CPD continues to require officers to turn off their cameras for “public safety questions,”
the CPD must explain the basis for that policy to its officers, the public, and the other City entities
involved in investigating such incidents. 8 We suggest that the CPD provide such an explanation
upon implementation of the latest version of S03-14, along with an explanation of the changes
from the 2018 version of S03-14 that address recent changes to the law, enhancements to ac-
countability, and address any other community concerns. As we have repeatedly stated, the CPD
will not achieve compliance with many of the relevant Consent Decree paragraphs until it “es-
tablish[es] and maintain[es] clear channels through which community members can provide in-
put” regarding S03-14, as required by ¶160, and the CPD should engage with the community’s
concerns about deactivating body-worn cameras along with other input about the policy. 9

                                                        ***



8
  We note that, as explained above, S03-14 is not the only policy that indicates body-worn cameras will be turned
  off for the public safety question responses. We will continue to work with the CPD on the language in S03-14 and
  G03-06—about which we continue to have significant concerns—to ensure the public safety question process is
  clearly described and explained and that the questions posed are limited and specific to ensuring immediate public
  safety concerns, such as identification of injured persons, locating and securing critical pieces of evidence before
  destruction or removal, identifying and securing additional crime scenes, and other critical factors.
9
  While the CPD has not yet produced to us the comments it received when it posted a version of S03-14 for public
  comment a year ago, the Coalition raised concerns to the City and the CPD about deactivation of body-worn cam-
  eras in its December 23, 2022 letter about the draft policy.


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If you have any questions or concerns, please contact the Independent Monitor Maggie Hickey
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